 

Case 2:05-cr-01228-RGK Document 26 Filed 06/05/06 Pagelof2 Page ID#:4

 

 

 

 

 

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
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CRIMINAL MINUTES - GENERAL LL
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Case No. CR 05-1228-RGK Date June 5, 2006
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Present: The Honorable R. GARY KLAUSNER, UNITED STATES DISTRICT JUDGE
Interpreter N/A
Sharon L. Williams Lynne Smith Jaime Guerrero
Deputy Clerk Court Reporter/Recorder, Tape No. Assistant U.S. Attorney
‘U.S.A. v.-Defendant(s): Present Cust. Bond . Attorneys for Defendants: Present App. Ret.
JOHN JAIRO GUTIERREZ x x Darlene Ricker, Pane! Xx X

Proceedings: SENTENCING

Court and counsel confer. Defendant addresses the Court. The Court places findings on the record and
proceeds with sentencing.

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Jhon
Jairo Gutierrez, is hereby committed on the Single-Count Information for a term of 24 months.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 5
years under the following terms and conditions:

l. The defendant shall comply with the rules and regulations of the United States Probation Office
and General Order 318;

2. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
submit to one drug test within 15 days of release from imprisonment and at least two periodic
drug tests thereafter, not to exceed eight tests per month, as directed by the Probation Officer;

3. During the period of community supervision the defendant shall pay the special as “in

accordance with this judgment's orders pertaining to such pa KETED ON G

   
 

 

CR-11 (09/98) CRIMINAL MINUTES - GENERAL
Case 2:05-cr-01228-RGK Document 26 Filed 06/05/06 Page 2 of 2 Page ID#:5

4. The defendant shall comply with the rules and regulations of the Bureau of Immigration and
Customs Enforcement (BICE), and if deported from this country, either voluntarily or ny
involuntarily, not reenter the United States illegally. The defendant is not required to reportito
the Probation Office while residing outside of the United States; however, within 72 hours of
release from any custody or any reentry to the United States during the period of Court- ordéred
supervision, the defendant shall report for instructions to the United States Probation Office?)
located at: .

United States Court House

312 North Spring Street, Room 600
Los Angeles, California 90012

and

5. The defendant shall cooperate in the collection of a DNA sample from the defendant.

The Court recommends the defendant be designated to a Bureau of Prisons facility in the Southern
California area, and if appropriate, Terminal Island.

IT IS SO ORDERED.

 

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CR-11 (09/98) CRIMINAL MINUTES - GENERAL Page 2 of 2
